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                       Exhibit E
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                                                   BRAND REPORT
                                           FOR THE 6 MONTH PERIOD ENDED DECEMBER 2018
                                       No attempt has been made to rank the information contained in this report in order of importance,
                                        since BPA Worldwide believes this is a judgment which must be made by the user of the report.

 National Association of Realtors      THE REALTOR® MAGAZINE brand advances real estate industry best practices, brings expert
 430 North Michigan Avenue             insights to significant industry trends and provides REALTORS® with timely decision making
 Chicago, IL 60611                     tools to determine business purchases and strategies.
 Tel.: (312) 329-8458
 Fax: (312) 329-8184
 Email: narpubs@realtors.org           BRAND REPORT PURPOSE
                                       The Brand Report provides a deeper understanding and identification of all audited touch
                                       points with customers that have interest in the brand. It is designed to present analysis of all
                                       communication channels, including a brand’s unique users within each channel of, but not
                                       across, multiple media platforms. This non-integrated report contains data for each separate
                                       media channel as indicated in the Executive Summary. No attempt has been made to identify
                                       or eliminate duplication that may exist across media channels.




   CHANNELS

             REALTOR                                  REALTOR
             MAGAZINE                                 WEBSITE




          3 issues in the period                337,572 average users
      1,332,100 average circulation




    EXECUTIVE SUMMARY
    Below are the average contacts per occurrence, including frequency per period reported.

                                                                                   Paid                      Non-Paid                       Average


    REALTOR MAGAZINE (3 issues in the period)                                  1,331,005                         1,095                     1,332,100



    REALTOR WEBSITE (Monthly Users                                                         -                 337,572                        337,572
    with 584,954 average Pageviews)




www.bpaww.com              No attempt has been made to identify or eliminate duplication that may exist across media channels.
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MAGAZINE CHANNEL                                                       Official Publication of: National Association of Realtors/Established: 1968

MARKET SERVED
REALTOR MAGAZINE serves members of the National Association of Realtors.




PRICE AND FREQUENCY                                                                  AVERAGE TOTAL QUALIFIED BASED ON 3 ISSUES IN THE PERIOD
             Average Annual Subscription Order Price                                  Total Qualified                            1,332,100
 $4.00       for the Period Reported (Excluding                                           Average Rate Base                           **NC
             Sponsored Subscriptions)
                                                                                              Variance +/-                            **NC
                                                                                              Percent +/-                             **NC
6                   Issues Per Year                                                       Qualified Paid                         1,331,005
                                                                                              Subscriptions                      1,331,005
                                                                                              Sponsored                                   -
**NC                All Single Copy Sales Prices for the Period                               Single-Copy Sales                           -
                                                                                          Qualified Non-Paid                         1,095
                                                                                     **NC – None Claimed




 1. AVERAGE QUALIFIED CIRCULATION BREAKOUT FOR PERIOD
                                                                 Qualified Paid                           Qualified Non-Paid                          Total Qualified
              Qualified Circulation                     Copies                    Percent            Copies              Percent             Copies                     Percent
 Individual                                                    -                       -                   -                      -                 -                         -
 *Membership Benefit                                  1,331,005                    99.9               1,095                    0.1         1,332,100                     100.0
 Multi-Copy Same Addressee                                     -                       -                   -                      -                 -                         -
 Sponsored Individually Addressed                              -                       -                   -                      -                 -                         -
 Sponsored Multi-Copy Same Addressee                           -                       -                   -                      -                 -                         -
 Sub-Total Subscriptions:                             1,331,005                    99.9               1,095                    0.1         1,332,100                     100.0
 Single-Copy Sales                                               -                     -                      -                   -                   -                       -
 Sponsored Single-Copy Sales                                     -                     -                      -                   -                   -                       -
                                        TOTAL         1,331,005                    99.9               1,095                    0.1         1,332,100                     100.0
 *See Additional Data




    2. QUALIFIED CIRCULATION BY ISSUES FOR PERIOD

                                2018 Issue                                                                             Total Qualified
    July/August                                                                                                          1,312,469

    September/October                                                                                                    1,335,867

    November/December                                                                                                    1,347,964




    3. BREAKOUT OF QUALIFIED CIRCULATION TO THE CONSUMER MARKET FOR ISSUE OF NOVEMBER/DECEMBER 2018
    This issue is 1.8% or 23,796 copies above the average of the other 2 issues reported in Paragraph 2.



                              Market Served                                                 Total Qualified                                 Percent of Total

     Realtors, Realtor-Associates, board officers, state association                         1,168,687                                             86.7
     officers and others allied to the field


     Designated Realtors                                                                       179,277                                             13.3


                                      TOTAL QUALIFIED CIRCULATION                            1,347,964                                            100.0




www.bpaww.com                                                                                                                            Realtor Magazine / December 2018         2
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 4. QUALIFICATION SOURCE BREAKOUT OF QUALIFIED NON-PAID CIRCULATION FOR ISSUE OF NOVEMBER/DECEMBER 2018
                                                                                Qualified Within
                                                                                                                                               Total
                           Qualification Source                                 1 Year               2 Years            3 Years              Qualified*         Percent
 I. Direct Request:                                                                   -                 -                  -                         -                -
 II. Request from recipient’s company:                                                -                 -                  -                         -                -
 III. Membership Benefit:                                                       1,089                   -                  -                   1,089             100.0
 IV. Communication from recipient or recipient’s company                              -                 -                  -                          -               -
      (other than request):
 V. TOTAL – Sources other than above:                                                -                  -                  -                          -               -
      Rosters and Directories                                                        -                  -                  -                          -               -
      Manufacturer's, distributor's and wholesaler's lists                           -                  -                  -                          -               -
      Other sources                                                                  -                  -                  -                          -               -
 VI. Single Copy Sales:                                                              -                  -                  -                          -               -
                                            TOTAL QUALIFIED CIRCULATION         1,089                   -                  -                     1,089           100.0
                                                               PERCENT          100.0                   -                  -                     100.0
*See Additional Data



  AVERAGE ANNUAL AUDITED QUALIFIED CIRCULATION AND CURRENT UNAUDITED BRAND REPORTS
                                                     Audited Data       Audited Data        Audited Data         Audited Data       Audited Data          Circulation Claim
                                                    January - June    July - December      January - June      July - December     January - June         July - December
                             6-Month Period Ended:      2016                2016               2017                  2017              2018                    2018*
 Total Audit Average Qualified:                       1,144,216          1,198,022           1,210,902            1,267,215          1,285,902                1,332,100
 Rate Base (if any):                                       **NC                **NC               **NC                  **NC              **NC                     **NC
 Rate Base +/-:                                            **NC                **NC               **NC                  **NC              **NC                     **NC
 Percent +/-:                                              **NC                **NC               **NC                  **NC              **NC                     **NC
 Qualified Paid :                                     1,143,079          1,197,251           1,209,798            1,266,112          1,284,799                1,331,005
 Subscriptions                                        1,143,079          1,197,251           1,209,798            1,266,112          1,284,799                1,331,005
 Sponsored                                                      -                  -                   -                    -                  -                        -
 Single-Copy Sales                                              -                  -                   -                    -                  -                        -
 Qualified Non-Paid:                                       1,137                771               1,104                1,103              1,103                    1,095
 Post Expire Copies included in Total Qualified
                                                           **NC                **NC               **NC                  **NC              **NC                    **NC
 Circulation:
 Average Annual Order Price:                               $6.00              $6.00               $6.00                $6.00              $6.00                   $4.00
*NOTE: July - December 2018 data is unaudited. With each successive period, new data will be added until six 6-month periods are displayed.
**NC = None Claimed.



 GEOGRAPHICAL BREAKOUT OF QUALIFIED CIRCULATION FOR ISSUE OF NOVEMBER/DECEMBER 2018*

              State                  Total Qualified              Percent                             State                    Total Qualified              Percent
  Maine                                    4,755                                          Kentucky                                   11,285
  New Hampshire                            5,926                                          Tennessee                                  27,340
  Vermont                                  1,626                                          Alabama                                    14,225
  Massachusetts                          24,644                                           Mississippi                                 6,277
  Rhode Island                             4,723                                                   EAST SO. CENTRAL                  59,127                     4.4
  Connecticut                            16,972                                           Arkansas                                    8,202
                NEW ENGLAND              58,646                       4.3                 Louisiana                                  14,239
  New York                               58,757                                           Oklahoma                                   11,161
  New Jersey                             52,441                                           Texas                                    118,598
  Pennsylvania                           33,716                                                   WEST SO. CENTRAL                 152,200                     11.3
             MIDDLE ATLANTIC           144,914                      10.8                  Montana                                     4,503
  Ohio                                   32,764                                           Idaho                                       9,460
  Indiana                                17,880                                           Wyoming                                     2,165
  Illinois                               47,451                                           Colorado                                   26,161
  Michigan                               31,552                                           New Mexico                                  6,540
  Wisconsin                              15,333                                           Arizona                                    46,616
            EAST NO. CENTRAL           144,980                      10.7                  Utah                                       15,959
  Minnesota                              20,516                                           Nevada                                     17,664
  Iowa                                     7,524                                                            MOUNTAIN               129,068                      9.6
  Missouri                               22,378                                           Alaska                                      1,679
  North Dakota                             1,933                                          Washington                                 21,957
  South Dakota                             2,012                                          Oregon                                     16,513
  Nebraska                                 4,846                                          California                               196,316
  Kansas                                   9,435                                          Hawaii                                      9,685
           WEST NO. CENTRAL              68,644                       5.1                                     PACIFIC              246,150                     18.3
  Delaware                                 4,085                                                       UNITED STATES             1,346,491                     99.9
  Maryland                               25,606                                           U.S. Territories                            1,473
  Washington, DC                           2,889                                          Canada                                            -
  Virginia                               35,085                                           Mexico                                            -
  West Virginia                            2,866                                          Other International                               -
  North Carolina                         42,975                                           APO/FPO                                           -
  South Carolina                         21,166
  Georgia                                35,697                                                    TOTAL QUALIFIED
  Florida                              172,393                                                        CIRCULATION               1,347,964                    100.0
              SOUTH ATLANTIC           342,762                      25.4
 *See Additional Data



www.bpaww.com                                                                                                                      Realtor Magazine / December 2018       3
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  WEBSITE CHANNEL
     HTTP://REALTORMAG.REALTOR.ORG/

                  2018                     Pageviews                           Sessions                                     Users                     Average Session Duration
     July                                   673,836                            494,655                                     389,566                             1:17
     August                                 634,294                            472,250                                     375,152                             1:12
     September                              491,164                            353,705                                     279,287                             1:20
     October                                562,646                            397,910                                     308,104                             1:25
     November                               598,404                            444,922                                     362,613                             1:09
     December                               549,385                            395,253                                     310,712                             1:23
                      AVERAGE:              584,954                            426,449                                     337,572                             1:17
    July – December 2018 data was provided by Omniture. All website activity is audited by BPA Worldwide.
    WEBSITE GLOSSARY
    Pageviews: A Pageview is recorded each time a page implanted with the JavaScript code (tag) is displayed in a browser window. This will occur whether the page is
    served directly from the web server, from a proxy, or from the browser’s cache.
    Sessions: A single continuous set of activity attributable to a cookied browser resulting in one or more pulled text and/or graphics downloads from a site. A period of 30
    minutes of inactivity will terminate the session.
    Users: An identified and unduplicated Cookied Browser that accesses Internet content or advertising during a measurement period.
    Average Session Duration: The time visitors remain on a site per session.




 ADDITIONAL DATA
 MAGAZINE:
 METHOD OF DISTRIBUTION:
 Qualified recipients are REALTORS, REALTOR-ASSOCIATES, board officers, and state association officers. Copies are addressed to individuals and mailed via a second class
 U.S. postal permit.

 AVERAGE NON-QUALIFIED CIRCULATION: 2,785 COPIES


   AVERAGE NON-QUALIFIED CIRCULATION
         Non-Qualified
    Not Included Elsewhere     Copies
   Other Paid Circulation                      -

   Advertiser and Agency                    691
   Allocated for Trade Shows                   -
   and Conventions
   All Other                             2,094

                     TOTAL               2,785


 PARAGRAPH 1:
 Qualified paid Membership Benefit subscriptions averaging 1,331,005 copies were sold to qualified recipients at the following subscription prices: $4.00. Members' yearly
 subscription price is included in the dues and is non-deductible therefrom.

 PARAGRAPH 4:
 Paragraph 4 includes 1,089 qualified non-paid circulation. Qualified paid circulation of 1,346,875 combined with the qualified non-paid circulation equals 1,347,964 total
 qualified circulation for the analyzed issue.

 GEOGRAPHIC DISTRIBUTION:
 Geographic data for Website is not reported at the media owner’s option.




 PUBLISHER’S AFFIDAVIT

 We hereby make oath and say that all data set forth in this statement are true.                                   Date signed                              February 8, 2019
         Alvin Pulley, Manager                                                                                     State                                    Illinois
         Stacey Moncrieff, Editor                                                                                  County                                   Cook
 (At least one of the above signatures must be that of an officer of the publishing company or its                 Received by BPA Worldwide                February 8, 2019
 authorized representative.)
 IMPORTANT NOTE:                                                                                                   Type                                     CBJ
 This unaudited brand report has been checked against the previous audit report.                                   ID Number                                T149B0D8
 It will be included in the annual audit made by BPA Worldwide.

 About BPA Worldwide:
 A not-for-profit organization since 1931, BPA Worldwide is governed by a tripartite board comprised of media owners, advertising agencies and advertisers. Headquartered in Shelton,
 Connecticut, USA, BPA has the largest membership of any media-auditing organization in the world, spanning more than 30 countries. Globally, BPA audits media properties including
 consumer magazines, newspapers, web sites, events, email newsletters, databases, wireless, social media and other advertiser-supported media—as well as advertiser and agency
 members. Visit www.bpaww.com for the latest audit reports, membership information and publishing and advertising industry news.

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